                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


    MARGARET CZERWIENSKI,
    LILIA KILBURN, and AMULYA
    MANDAVA

          Plaintiffs,
     v.                                                        CASE NO. 1:22-cv-10202-JGD

    HARVARD UNIVERSITY AND THE
    PRESIDENT AND FELLOWS OF
    HARVARD COLLEGE

          Defendants.


                          HARVARD’S AMENDED MOTION
                FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT TEN

          Defendant President and Fellows of Harvard College1 respectfully request that the Court

enter summary judgment in their favor on Count Ten of the Amended Complaint in this action.

That Count, brought solely on behalf of plaintiff Lilia Kilburn, alleges that, during Harvard’s

investigation of Kilburn’s sexual harassment allegations, Harvard obtained plaintiff Lilia

Kilburn’s private therapy records from a mental health counselor and released them without her

consent. Facts plaintiff cannot dispute demonstrate that this his claim is patently false and creates

no basis for liability against Harvard.




1
  Harvard University is not properly named as a Defendant in this action, since it is not a corporate entity
independent of the President and Fellows of Harvard College. Accordingly, the President and Fellows of Harvard
College. responds on behalf of both named Defendants.


                                                        1

FH10970251.1
       The undisputed facts demonstrates that Kilburn herself (1) volunteered to the Harvard

investigator reviewing her sexual harassment claims that she had spoken to a therapist about

Professor John Comaroff’s alleged harassment of her; (2) told the investigator that the therapist

had a record of “specific memories” that would provide “contemporaneous corroboration” for her

claims; (3) said the therapist stood “ready to attest” to her complaint; (4) gave the investigator the

therapist’s name and contact information; (5) urged the investigator to contact the therapist and to

obtain her therapy records for use in Harvard’s investigation; and (6) contacted her therapist to ask

her to search for documentation supporting her allegations against Comaroff.

        Moreover, before Kilburn gave the Harvard investigator her therapist’s name and contact

information, Harvard had notified Kilburn no fewer than seven times that Harvard’s procedures

for investigating harassment complaints required the investigator to disclose evidence the

investigator obtained during the investigation, like the therapy records, to Comaroff.

       Despite Harvard’s repeated reminders to Kilburn that its investigatory procedures required

disclosure of the therapy records to Comaroff, Kilburn expressed no objection to Harvard’s use of

those records, or their disclosure to Comaroff, until after the investigation had ended and the

internal appeals panel had convened.

       These facts, which are beyond dispute, make clear that Count Ten of the Amended

Complaint, alleging that Harvard wrongfully induced Kilburn’s therapist to disclose confidential

information and invaded her privacy—is wholly without merit. Therefore, Harvard respectfully

requests that the Court enter summary judgment in Harvard’s favor on Count Ten of the Amended

Complaint.

       In further support of this Motion, Harvard files herewith:


                                                  2

FH10970251.1
       1. Harvard’s Amended Memorandum of Law in Support of its Motion for Summary
          Judgment;
       2. Harvard’s Amended Statement of Material Facts;

       3. Amended Affidavit of Ilissa Povich and associated exhibits;

       4. Affidavit of Kwok W. Yu; and

       5. Affidavit of Alexandria Masud

       WHEREFORE, Harvard University and President and Fellows of Harvard College

respectfully request that that the Court enter summary judgment as to Count Ten of plaintiff’s

complaint.

                                                   Respectfully submitted,

                                                   /s/ Martin F. Murphy
 Victoria L. Steinberg, BBO #666482               Martin F. Murphy, BBO #363250
 Julien M. Mundele, BBO #694001                   Madeleine K. Rodriguez, BBO #684394
 Rachel C. Hutchinson, BBO #696739                FOLEY HOAG LLP
 TODD & WELD LLP                                  155 Seaport Boulevard, Suite 1600
 One Federal Street                               Boston, MA 02210
 Boston, MA 02110                                 Telephone: (617) 832-1000
 Telephone:     (617) 624-4714                    Facsimile: (617) 832-7000
 Facsimile:     (617) 624-4814                    mmurphy@foleyhoag.com
 vsteinberg@toddweld.com                          mrodriguez@foleyhoag.com
 jmundele@toddweld.com
 rhutchinson@toddweld.com

                                                  Attorneys for Defendants,
                                                  Harvard University and President and
                                                  Fellows of Harvard College




                                              3

FH10970251.1
                              LOCAL RULE 7.1 CERTIFICATION
        I hereby certify that, pursuant to Local Rule 7.1(a)(2), counsel for Harvard has met and
conferred with counsel for Plaintiffs and the parties were unable to narrow or resolve the issues raised
therein.
.
                                                      /s/ Martin F. Murphy
                                                      Martin F. Murphy




                                 CERTIFICATE OF SERVICE
        I, Martin F. Murphy, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on July 19, 2022.

                                                      /s/ Martin F. Murphy
                                                      Martin F. Murphy




                                                 4

FH10970251.1
